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                              DOJ,	OSC	AND	THE	PRESS	
                                            	
10/27/2017	Affadavit	for	seizure	warrant	
p6	para	14		
	      PM’s	spokesman	subpoenaed		-	turned	over	two	memos	from	PM	to	Rinat	
	      Akhmetov	from	2005	re:	activities	for	party	of	regions	
	
	      memos	received	by	Maloni	from	AP	
	      	
FN	3	–		
	      the	same	reporter	wrote	a	series	of	articles	about	PM’s	work	for	POR		 and	
	      UKR	officials	
	
	      In	the	Winter	of	2017	(sic	2016)	employee	of	DMI	–CS-1	permitted	the	
	      reporter	to	view	material	on	a	hard	drive	copy	of	DMI’s	electronic	files	
	
	      Government	obtained	warrant	for	the	hard	drive	
	
	      The	same	reporter	published	an	article	on	April	12,	2017	a	“black	ledger”	
	      payments	from	POR	to	PM	
	      	      -That	ledger	appeared	to	detail	payments	to	PM	
	      	      -The	article	reported	that	DMI	records	showed	that	at	least	two		
	      	      payments	were	made	to	DMI	that	correspond	to	payments	noted	on		
	      	      the	“black	ledger”	
	      	      -PM	through	Maloni	said	he	was	paid	according	to	his	clients		 	
	      	      preferred	financial	institutions	and	instructions	
	
	
